                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION


WAYNE NUTT,                                   )       Case No. 7:21-CV-00106-M
                                              )
       Plaintiff,                             )       PLAINTIFF’S MEMORANDUM
v.                                            )       IN SUPPORT OF MOTION FOR
                                              )       ATTORNEYS’ FEES
ANDREW L. RITTER, in his official             )
capacity as Executive Director of the North   )
Carolina Board of Examiners for Engineers     )
and Surveyors, et al.,                        )
                                              )
       Defendants.                            )




                     PLAINTIFF’S MEMORANDUM IN SUPPORT OF
                          MOTION FOR ATTORNEYS’ FEES




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                                                   Local Rule 83.1(e)

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                                                INTRODUCTION

           Plaintiff won this civil-rights action under 42 U.S.C. § 1983 and the undersigned pro bono

counsel is therefore entitled to be awarded reasonable attorneys’ fees at a market rate. For the

reasons explained below, a reasonable award of attorneys fees in this matter would total $331,878. 1


                                                   ARGUMENT

           A § 1983 plaintiff who prevails on “any significant issue” in the litigation is a prevailing

party entitled to attorneys’ fees under 42 U.S.C. § 1988. Tex. State Tchrs. Ass’n v. Garland Indep.

Sch. Dist., 489 U.S. 782, 789 (1989). A prevailing party “should ordinarily recover an attorney’s

fee unless special circumstances would render such an award unjust.” Hensley v. Eckerhart, 461

U.S. 424, 429 (1983). The special-circumstances exception is “narrowly limited” and applies only

in “rare” circumstances not applicable here. Lefemine v. Wideman, 758 F.3d 551, 555–56 (4th Cir.

2014). The Court should therefore grant Plaintiff’s motion and award fees.

           Calculating those fees in this jurisdiction requires a three-step inquiry, each of which is

discussed below. First, courts must establish the “lodestar” figure by multiplying a reasonable

hourly rate by the reasonable hours expended on the case. “[T]here is a strong presumption that

the lodestar” is reasonable. Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 546 (2010). But to

ensure its reasonableness, courts conduct two further inquiries: They subtract fees for hours spent

on any unsuccessful claims to the extent those claims are unrelated to the successful ones. And

then they award a percentage of the lodestar based on the plaintiff’s degree of success.




1
    Plaintiff is also entitled to recover his costs, which is the subject of a separate filing.

                                                           1
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        A. A Reasonable Lodestar Is $331,878.

        District courts in the Fourth Circuit sometimes establish a lodestar figure by

straightforwardly multiplying a reasonable hourly rate by the hours reasonably expended. 2 Other

times, they apply a twelve-factor test for reasonableness called “the Johnson/Barber factors.” 3

Each approach yields the same result.

            1. Reasonable hours times reasonable rates yields $331,878.

        A court calculates the lodestar by multiplying hours expended by a reasonable local rate. 4

Plaintiff has submitted along with this motion detailed records summarizing the qualifications of

and time expended by the attorneys who litigated this case, along with testimony from unaffiliated

attorneys about prevailing local rates. As detailed below, the hours actually expended multiplied

by a reasonable hourly rate yields a lodestar of $331,878.

                a. The attorneys billed relatively few hours to this matter.

        The primary litigation of this matter was conducted by two attorneys from the Institute for

Justice, supported by local counsel Cory Reiss of the Wilmington firm Reiss Nutt; all three

attorneys have provided contemporaneously recorded time records, from which they have deleted

a number of hours after exercising reasonable billing judgment. See Ex. 1, Declaration of Robert

McNamara in Support of Plaintiff’s Motion for Attorneys’ Fees (“McNamara Dec.”); Ex. 5,

Declaration of Joseph Gay in Support of Plaintiff’s Motion for Attorneys’ Fees (“Gay Dec.”); Ex.

7, Affidavit of W. Cory Reiss in Support of Plaintiff’s Motion for Attorneys’ Fees and Costs

(“Reiss Aff.”). These time records reveal that counsel actually billed 550.3 hours to this matter;


2
  See, e.g., Stuart v. Walker-McGill, No. 11-CV-804, 2016 WL 320154, 2016 U.S. Dist. LEXIS 7976
(M.D.N.C. Jan. 25, 2016).
3
  Grissom v. Mills Corp., 549 F.3d 313, 320 (4th Cir. 2008).
4
  While Plaintiff was represented pro bono by out-of-state counsel, the default rule is that the appropriate
hourly rate is derived by reference to prevailing rates in the local community. Rum Creek Coal Sales v.
Caperton, 31 F.3d 169, 174 (4th Cir. 1994).

                                                     2
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they seek to recover for only 428.7 of those hours. Plaintiffs’ counsel have similarly provided

contemporaneous time records for paralegals at the Institute for Justice and a legal assistant from

Reiss Nutt. McNamara Dec. ¶¶ 9–12; Reiss Aff. ¶ 12. As with attorney time, attorneys from the

Institute for Justice have exercised billing judgment to reduce the total hours of paralegal time

billed: Institute paralegals billed 139.5 hours to this matter, but counsel seeks to recover for only

86 hours of paralegal time. McNamara Dec. ¶¶ 9–12. The Institute’s time records also reflect

approximately 20 further hours of time spent by other attorneys and paralegals on this matter, for

which the Institute does not seek to recover. Id. ¶ 13. 5

        The total hours billed to this matter are strikingly low—in part because of counsel’s pre-

existing familiarity with the subject matter of this case. See McNamara Dec. ¶ 5. This action

required significant discovery, including multiple depositions, interrogatories, and several

thousand pages of document production by defendants. 6 Id. ¶ 6. This discovery was time-

consuming and, at points, needlessly contentious. Compare ECF 49-8 (deposition transcript of

30(b)(6) designee David Evans) at 23:21–22 (“If you want to go far afield of Topic 2, then I object,

and I’m instructing him not to answer.”), with In re Facebook, Inc., Consumer Privacy User Profile

Litig., 655 F. Supp. 3d 899, 904, 931–32 (N.D. Cal. 2023) (“[I]t is improper to instruct a corporate

witness not to answer a question based on scope.” (collecting cases)).




5
  Counsel’s billing records include time spent preparing the motion for preliminary injunction that was
ultimately mooted by developments in a state-court case in which Plaintiff had sought to testify. ECF 37
(withdrawal of motion). This is appropriate: The relevant question is whether the hours were reasonably
expended, not whether the specific motions were ultimately granted. “Simply because an attorney loses a
motion in an otherwise successful litigation does not necessarily mean attorneys' fees should not be awarded
for time spent on the unsuccessful [motion].” Bowers v. Cornell Roofing & Sheet Metal Co., No. 18-00434-
CV-W-JTM, 2019 WL 4888626, 2019 U.S. Dist. LEXIS 237888, at *3 (W.D. Mo. July 9, 2019). The
preliminary-injunction motion was meritorious, as demonstrated by Plaintiff’s eventual victory on the
merits, and it was mooted for reasons beyond Plaintiff’s control.
6
  Defendants did not propound any written discovery.

                                                     3
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        Despite all this, Plaintiff seeks to recover only 431 hours for the work of three attorneys

and 86.2 hours for the work of two paralegals and a legal assistant. This is far lower than the total

number of hours in other constitutional cases in North Carolina. In Stuart v. Walker-McGill, for

example, a challenge to an abortion restriction, one of the lead attorneys, alone, sought to recover

for 431.6 hours. Stuart v. Walker-McGill, No. 11-CV-804, 2016 WL 320154, 2016 U.S. Dist.

LEXIS 7976, at *8 (M.D.N.C. Jan. 25, 2016). Her co-counsel billed 447.2 hours, to say nothing

of the dozen other attorneys on the case. Id. Completing a contentious case that required discovery,

multiple rounds of substantive briefing, and oral arguments with fewer than 500 total hours of

attorney time is a particularly efficient use of resources.

                b. Record evidence reflects reasonable hourly rates for the work done.

        Attorney Cory Reiss provided direct testimony about the market rates he charges when not

working pro bono; his declaration says that he would ordinarily charge $300 per hour for his time

in a matter like this and $90 per hour for time spent by his legal assistant. Reiss Aff. ¶ 3.

        The Institute for Justice is a public-interest law firm that exclusively represents clients on

a pro bono basis, which means they do not have a prevailing market rate. See McNamara Dec. ¶ 6.

One attorney, Joseph Gay, left private practice in 2021, at which time his actual market rate was

$800 per hour. Both Institute for Justice attorneys have substantial litigation experience—Mr. Gay

has been in practice for over 14 years; Mr. McNamara for over 17. See Gay Dec. ¶ 3; McNamara

Dec. ¶ 3. Mr. McNamara, in addition to extensive experience litigating constitutional cases in

federal court at the trial, appellate, and Supreme Court level, has particular experience in the

constitutional issues presented by this case; he along, with his colleagues at the Institute for Justice,

personally litigated several of the cases cited in this Court’s summary-judgment opinion.

McNamara Dec. ¶ 5.



                                                   4
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       Because they do not charge their clients (and therefore cannot provide evidence of what

those clients pay), the Institute for Justice attorneys sought opinion testimony from Patrick Mincey

of the law firm Cranfill Sumner LLP, who is the Chair of that firm’s Administrative, Regulatory,

and Government Law Group, as well as its White Collar, Government Investigations and Special

Matters Practice Group. See Ex. 8 (“Mincey Dec.”) ¶ 3. Mr. Mincey’s primary office address is in

Wilmington. Id. As a result of his extensive litigation experience, Mr. Mincey is directly familiar

with prevailing rates in the Eastern District of North Carolina for work of the sort that was required

to litigate this case. Id. ¶ 5. In his opinion, attorneys of equivalent experience to Mr. McNamara

and Mr. Gay would charge between $750 and $795 per hour in the local market for work of the

sort required by this case. Id. ¶ 7. Mr. Mincey also testified that a reasonable paralegal rate would

be $295 per hour. Id.

       This evidence suggests that local rates for complex federal litigation are somewhat higher

than some North Carolina cases have recognized. See, e.g., Stuart, 2016 U.S. Dist. LEXIS 7976,

at *54–55 (awarding $550 per hour for partner work and noting that the evidence showed an

“experienced constitutional lawyer in North Carolina charge[d] paying clients an hourly rate of

$625”); see also Edwards v. Hooks, No. 5:21-CT-3270-D, 2023 WL 8449250, 2023 U.S. Dist.

LEXIS 217892 (E.D.N.C. Dec. 6, 2023) (surveying caselaw in the absence of evidence and

determining $500 per hour was a reasonable rate for a partner). This is unsurprising in light of

recent sharp inflation: The Bureau of Labor Statistics’ “CPI Inflation Calculator,” for example,

suggests that the $550 rate awarded by the Stuart court would be $715.99 in January 2024, while

the $625 rate it identified as a comparator would be over $800 today. See Bureau of Labor

Statistics, CPI Inflation Calculator, https://www.bls.gov/data/inflation_calculator.htm. This

disparity between past cases and current market realities is why district courts in other jurisdictions



                                                  5
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have concluded that they should rely on evidence rather than purely on prior caselaw in

determining appropriate market rates. See, e.g., Swallow v. Toll Bros., Inc., No. C-08-02311 JCS,

2009 WL 513486, 2009 U.S. Dist. LEXIS 19291, at *20 (N.D. Cal. March 2, 2009).

        In short, the testimony reveals an increase in lawyer rates that is roughly on par with

inflation. It reveals an increase in paralegal rates, however, that outpaces inflation—where the

Stuart court found that the evidence supported an award of $125 per hour for paralegal word, Mr.

Mincey’s testimony suggests the actual prevailing rate for work of this sort is now $295 per hour,

more than double what the court awarded in 2016. In a further exercise of billing judgment,

Plaintiff respectfully suggests that the Court split the difference and award paralegal time at a rate

of $150 per hour.

               c. The correct lodestar is $331,878.

        The chart below summarizes the reasonable hours and rates for Plaintiff’s counsel in this

case, drawn from the supporting declarations and their attachments:

 Name                 Hourly Rate          Hours Billed        Hours             Total Amount
                                                               Requested         Requested
 Robert               750                  209.6               152.4             $116,025
 McNamara
 Joseph Gay           750                  335                 270.6             $202,950
 W. Cory Reiss        300                  5.7                 5.7               $1,710
 Maxwell Odynski      90                   .2                  .2                $18
 Molly Hanis          150                  116.5               65.5              $9,825
 Kendall Morton       150                  23                  20.5              $3,075
                                                                                 $331,878 (total)

           2. The lodestar is also reasonable under the Johnson/Barber factors.

        The 12 Johnson/Barber factors are as follows:

               (1) the time and labor expended; (2) the novelty and difficulty of the
               questions raised; (3) the skill required to properly perform the legal
               services rendered; (4) the attorney’s opportunity costs in pressing
               the instant litigation; (5) the customary fee for like work; (6) the
               attorney’s expectations at the outset of the litigation; (7) the time

                                                   6
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               limitations imposed by the client or circumstances; (8) the amount
               in controversy and the results obtained; (9) the experience,
               reputation, and ability of the attorney; (10) the undesirability of the
               case within the legal community in which the suit arose; (11) the
               nature and length of the professional relationship between attorney
               and client; and (12) attorneys’ fees awards in similar cases.

Grissom, 549 F.3d at 321. As discussed below, each factor supports the reasonableness of

Plaintiff’s requested lodestar here.

                                    The time and labor expended

       As noted above, Plaintiff seeks to recover for a total of fewer than 500 hours of attorney

time. But that time far undercounts the time and labor expended on this case. As noted in the

declarations accompanying this motion, the litigation of this case actually required more than 700

hours. Supra at 6. Counsel, in an exercise of careful billing judgment, have drastically reduced the

time and labor for which they seek compensation.

                         The novelty and difficulty of the questions raised

       This case presented novel issues of First Amendment law. Indeed, as the Court previously

explained, the issues involved “difficult” questions about First Amendment “first principles,”

applied to a complex and “somewhat circular” statutory scheme. Mot. Hr’g Tr. 4:2–12, ECF 62.

And as the Court’s summary-judgment opinion noted, a different judge in this district confronted

a nearly identical question just last year and came to a different conclusion. ECF 63 at 29.

                The skill required to properly perform the legal services rendered

       As discussed in the supporting declarations, Plaintiff’s counsel are particularly—perhaps

uniquely—suited to litigate the First Amendment issues in this case. See McNamara Dec. ¶ 5.

They, or other attorneys at their firm, have litigated many of the leading cases in this area, and that

experience and skill allowed them to litigate this case with particular efficiency. Id.

                 The attorney’s opportunity costs in pressing the instant litigation

                                                  7
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       Plaintiff’s counsel practice nationally, and receive, weekly, dozens of requests for their pro

bono help. McNamara Dec. ¶ 4. Time spent litigating this case necessarily comes at the cost of not

spending that time litigating other constitutional cases in other jurisdictions.

                                  The customary fee for like work

       As discussed above, Plaintiff seeks fees at the evidence-based prevailing local rate for work

of this kind. Supra at 4–6. That evidence-supported rate is in line with the inflation-adjusted rates

identified by other federal decisions in North Carolina. Id.

                     The attorney’s expectations at the outset of the litigation

       Plaintiff’s counsel represented him pro bono, see McNamara Dec. ¶ 6, but could reasonably

expect to recover fees in the event of a successful result because fees are “ordinarily” awarded to

prevailing parties in these cases. Hensley, 461 U.S. at 429.

                   The time limitations imposed by the client or circumstances

       Plaintiff does not seek enhanced fees because of limitations imposed by the client or the

circumstances of the case.

                        The amount in controversy and the results obtained

       At the outset of this case, Plaintiff Wayne Nutt had been ordered by the Defendants to stop

sharing his opinions about engineering matters. Verified Compl. ¶¶ 1, 31, 36–40, ECF 1. These

orders did their job—Nutt was unwilling to break the law, and he engaged in self-censorship to

avoid breaking the law. Decl. Wayne Nutt Supp. Mot. Summ. J. ¶¶ 53–54, ECF 49-1. At the end

of this case, Nutt has obtained exactly the result he wanted: Defendants’ orders have been declared

unconstitutional, and they have been enjoined from enforce g the engineering-licensing

requirement against Nutt for his speech. Judgment, ECF 64. He has achieved the result he sought.

                      The experience, reputation, and ability of the attorney



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       Plaintiff was represented by experienced constitutional lawyers with particular expertise in

the First Amendment issues at the heart of this case. McNamara Dec. ¶ 5. That expertise comes

not only in the form of direct litigation experience, but recognition by the editorial staffs of

academic publications and the mainstream press alike. Id.

        The undesirability of the case within the legal community in which the suit arose

       Plaintiff does not seek a fee enhancement based on this case’s unusual undesirability.

       The nature and length of the professional relationship between attorney and client

       Plaintiff has been represented by the same counsel for the nearly three-year duration of this

case. See ECF 1.

                              Attorneys’ fees awards in similar cases.

       As discussed above, Plaintiff requests fees at a similar rate as in earlier cases, though for

far fewer hours than would be expected in a suit of this difficulty and complexity. See supra at 2–

4.

       B. Nutt Brought No Claims Unrelated To His Successful First Amendment Claim.

       The Complaint in this case stated a claim under the First Amendment. ECF-1 at 12–14.

Nutt prevailed on that claim. As a result, the defendants have been enjoined from enforcing their

licensing requirement—not just against Nutt, but against any “unlicensed expert engineering

report.” ECF 63 at 36. To be sure, the Court had some discretion in choosing how it reached this

result—it could have adjudicated the entire statute overbroad, or it could have narrowly confined

its relief only to Nutt’s particular speech. It chose a middle ground, granting full relief to Nutt and

any speaker who is similarly situated, but that choice reflects Nutt’s complete vindication on the

merits of his sole claim.




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       C. The Court Should Award $331,878.

       No reduction in the lodestar is necessary because Nutt has achieved complete success.

When this case was filed, he was afraid to speak for fear of legal sanction. Now, he, and anyone

else like him, can speak freely—completely protected by this Court’s injunctive relief. That is the

result he sought; that is the result he achieved. An award of $331,878 is therefore appropriate.

                                         CONCLUSION

       For the foregoing reasons, Plaintiff’s Motion for Attorneys’ Fees should be granted.


Dated: February 21, 2024.                            Respectfully submitted,

/s/ W. Cory Reiss                                    /s/ Robert J. McNamara
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                                                       Local Rule 83.1(e)

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2024, a true and correct copy of the foregoing was

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing and, pursuant to Local Civil Rule 5.1(e), shall constitute service upon, the following:

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